875 F.2d 314Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Michael Ray CHILDRESS, Sr., Plaintiff-Appellant,v.L.W. HUFFMAN, Warden, Margaret B. Baker, Clerk of HenricoCircuit Court, Defendants-Appellees.
    No. 89-6504.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 9, 1989.Decided May 8, 1989.Rehearing Denied June 4, 1989.
    
      Michael Ray Childress, Sr., appellant pro se.
      Before K.K. HALL and PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Michael Ray Childress appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Childress v. Huffman, C/A No. 88-1562-AM (E.D.Va., Dec. 13, 1988).  We deny Childress's motion for appointment of counsel.  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      AFFIRMED.
    
    